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                        IN THE UNITED STATES DISTRICT COURT 
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA 
 
                                        
MICHAEL HIGGINS                        : 
8111 Castor Avenue, Apt. 5             :     CIVIL ACTION 
Philadelphia, PA 19152                 :      
                      Plaintiff        : 
              v.                       : 
                                       : 
POLICE OFFICER SHELDON B.              : 
FITZGERALD, Badge No. 3998             : 
c/o Office of City Solicitor           : 
1515 Arch Street, 15th Floor           : 
Philadelphia, PA  19102                : 
       and                             : 
POLICE OFFICER HOWARD HILL III,        : 
Badge No. 2787                         : 
c/o Office of City Solicitor           : 
1515 Arch Street, 15th Floor           :     JURY TRIAL DEMANDED 
Philadelphia, PA  19102                : 
       and                             : 
CHARLES H. RAMSEY, POLICE              : 
COMMISSIONER, CITY OF                  : 
PHILADELPHIA                           : 
c/o Office of City Solicitor           : 
1515 Arch Street, 15th Floor           : 
Philadelphia, PA  19102                : 
       and                             : 
CITY OF PHILADELPHIA                   : 
c/o Office of City Solicitor           : 
1515 Arch Street, 15th Floor           : 
Philadelphia, PA  19102                : 
 
                                    COMPLAINT 
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                                         INTRODUCTION 

       Plaintiff, Michael Higgins, brings this civil rights action seeking damages, pursuant to 42 

U.S.C. § 1983, against officers of the Police Department of the City of Philadelphia and various 

officials of the City of Philadelphia for depriving him and conspiring to deprive him of his rights 

guaranteed under the United States Constitution, for the premeditated, unprovoked, and 

malicious beating by employees of the Police Department of the City of Philadelphia. 

       Plaintiff, Michael Higgins, claims of Defendants, and each of them, both jointly and 

severally, sums in excess of One Hundred Thousand Dollars ($100,000.00) upon causes of action 

whereof the following is a statement: 

                                          JURISDICTION 

       This action is brought pursuant to 42 U.S.C. §§ 1983, 1985, 1986 and 1988. Jurisdiction

is based upon 28 U.S.C. §§ 1331 and 1343, and the aforementioned statutory provisions.

Plaintiffs further invoke the pendent jurisdiction of this Court, provided by 28 U.S.C. § 1367, to

hear and decide claims arising under state law.

                                             PARTIES 

       1.      Plaintiff, Michael Higgins (hereinafter “Higgins”), is an individual citizen of the 

Commonwealth of Pennsylvania, residing at 8111 Castor Avenue, Apt. 5, Philadelphia, PA 

19152. 

       2.      Defendants Sheldon B. Fitzgerald, (hereinafter “Fitzgerald”), and Howard Hill, III, 

(hereinafter “Hill”), upon information and belief, are individual citizens of the Commonwealth 

of Pennsylvania employed by the Police Department of the City of Philadelphia as police 




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officers, each with an address for service of process located at the Office of the City Solicitor, 

1515 Arch Street, 15th Floor, Philadelphia, PA 19102. 

       3.      Defendant Charles H. Ramsey (hereinafter “Ramsey”) is an individual citizen of 

the Commonwealth of Pennsylvania and is, upon information and belief, the Commissioner of 

Police of the City of Philadelphia, with an address for service of process located at the Office of 

the City Solicitor, 1600 Arch Street, 8th Floor, Philadelphia, PA 19103. 

       4.      Defendant, City of Philadelphia (hereinafter “City”) is a municipal corporation 

and a city of the first class existing under and by virtue of laws of the Commonwealth of 

Pennsylvania, with an address for service of process located at the Office of the City Solicitor, 

1515 Arch Street, 15th Floor, Philadelphia, PA 19102. 

       5.      At all times material hereto, Defendants Fitzgerald and Hill acted within the 

course of their duties and scope of their employment as the agents, servants and/or employees 

of Defendant City under the direction and supervision of Defendant Ramsey.   

       6.      At all times material hereto, Defendants Fitzgerald and Hill were acting either 

negligently or intentionally, maliciously, and/or wantonly under color of state law and 

authority, and in reckless, intentional or callous disregard of or indifference to the rights 

secured to the Plaintiff by federal and state laws and rules, the Fourth, Fifth and Fourteenth 

Amendments to the Constitution of the United States and the Constitution of the 

Commonwealth of Pennsylvania. 

       7.      At all times material hereto, the City, acted by and through its agents, servants 

and/or employees, Fitzgerald and Hill, who acted in accordance with and pursuant to 

governmental customs, patterns, and policies of committing constitutionally offensive acts, 



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including but not limited to violent and unlawful conduct on the part of Philadelphia police 

officers, the filing of false and baseless criminal charges, the giving of false and perjurious 

testimony in judicial proceedings, which customs, patterns and policies were known by the 

Defendants City and Ramsey to have existed for a substantial period of time, and which 

consisted, without limitation, of: 

               (a) failing to reprimand and/or discharge or otherwise discipline and/or 
                   prosecute police officers found to have engaged in violent and/or unlawful 
                   conduct; 
                    
               (b) failing to counsel and/or warn police officers to avoid violent and unlawful 
                   conduct or instruct them on techniques designed to do so; 
                    
               (c) failing to train its officers not to commit perjury in order to obtain 
                   convictions; 
                    
               (d) allowing and promoting and/or failing to discourage the policy of committing 
                   perjury in order to obtain convictions; 
                    
               (e) failing to train and supervise police officers; 
                    
               (f) failing to conduct periodic and systematic performance reviews and 
                   evaluations of individual police officers generally and in particular of 
                   defendants Fitzgerald and Hill; 
                    
               (g) allowing and promoting and/or failing to discourage the policy of filing and 
                   prosecuting false and malicious criminal charges against victims of police 
                   brutality or other excessive and/or unlawful conduct on the part of law 
                   enforcement officers; 
                    
               (h) failing to adopt and implement measures designed to protect against the 
                   filing of false and malicious criminal charges against the victims of police 
                   violence or other excessive and/or unlawful conduct on the part of law 
                   enforcement officers; 
                    
               (i) failing to adopt and implement measures designed to protect against the use 
                   of perjured testimony in order to obtain convictions; 
                    




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             (j) failing to reprimand, discharge and/or prosecute police officers who engage 
                 in constitutionally offensive acts including, but not limited to, committing 
                 perjury; 
                  
             (k) failing to reprimand, discharge and/or prosecute officers who commit 
                 constitutionally offensive and/or criminal acts and thereafter give false and 
                 perjurious testimony or file baseless criminal charges as a means of 
                 obfuscating the illegality of their conduct or of intimidating the victims of 
                 their illegal conduct; 
                  
             (l) deliberate indifference to constitutionally offensive acts carried out within 
                 the Philadelphia Police Department; 
                  
             (m) authorizing or condoning, either expressly or tacitly, constitutionally 
                 offensive acts, by members of the Philadelphia Police Department; 
          
             (n) fostering violent and unlawful conduct of police officers by providing legal 
                 counsel to officers alleged to have committed violent and unlawful acts, and 
                 paying monies in satisfaction of judgments rendered against Philadelphia 
                 police officers; 
                  
             (o) failing to formally promulgate and disseminate and/or enforce appropriate 
                 and reasonable guidelines for the handling of arrested individuals; 
                  
             (p) failing to formally promulgate and disseminate and/or enforce appropriate 
                 and reasonable guidelines for the use of offensive weapons by police 
                 officers, including the use of nightsticks; 
                  
             (q) failing to effectively enforce existing standards relating to the use of 
                 offensive weapons, including nightsticks, when it was known or should have 
                 been known that said standards were repeatedly and regularly being violated 
                 by Philadelphia police officers, including Defendants Fitzgerald and Hill;  
                  
             (r) failing to promulgate and disseminate appropriate and/or enforce 
                 reasonable guidelines for identifying baseless, malicious criminal charges 
                 initiated by police officers for the purpose of punishing and/or intimidating 
                 victims of their illegal conduct; and 
                  
             (s) such other acts, patterns, policies, and customs as shall become known upon 
                 further investigation and through discovery procedures or at trial. 
 
     

                                          COUNT I 


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                   MICHAEL HIGGINS V. DEFENDANTS FITZGERALD AND HILL 
                                                    
        8.         The averments of Paragraphs 1 through 7, inclusive, of this Complaint are 

incorporated herein by reference as if they were set forth in extenso. 

        9.         On or about January 1, 2008 at or about  9:30 a.m., Plaintiff Michael Higgins was 

walking on Westmoreland Avenue at or near its intersection with 5th Street in the City of 

Philadelphia.   

        10.        At the aforesaid time and place plaintiff was confronted by Defendants 

Fitzgerald and Hill.  At that time, Plaintiff was neither engaged in a criminal act nor in any 

unusual conduct that would lead a police officer to reasonably conclude that criminal activity 

was afoot.  Nonetheless, Defendants Fitzgerald and Hill detained plaintiff and questioned him. 

        11.        Defendants Fitzgerald and Hill illegally searched the plaintiff and then 

intentionally, recklessly and maliciously assaulted, battered, detained and arrested Plaintiff  

        12.        At all times material hereto, Plaintiff acted in a lawful manner and conducted 

himself in such a law‐abiding way so as to give the Defendants Fitzgerald and Hill no cause or 

justification whatsoever for the actions taken by them against him. 

        13.        The aforementioned Defendant police officers had no legal justification or 

probable cause to stop, detain and/or arrest Plaintiff nor did they have cause or justification to 

engage in the violent acts against him that resulted in the injuries and damages sustained by 

Plaintiff as more specifically set forth below. 

        14.        The Defendants, by their unlawful conduct, either negligently or intentionally, 

willfully and maliciously attempted to, and did deprive Plaintiff Higgins of the rights, privileges 

and immunities secured for him by the Constitution of the United States of America, and 


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Amendments thereto, including, without limitation, the rights accorded to him by the Fourth, 

Fifth and Fourteenth Amendments, and by the Constitution of the Commonwealth of 

Pennsylvania, all of which acts were done by the Defendants, individually and/or in concert, and 

in violation of 42 U.S.C. §§1983 and 1985. 

       15.     The Defendants acted either with actual knowledge that their conduct violated 

Plaintiff Higgins’ federally and state protected rights, or with reckless and callous disregard of, 

or deliberate indifference to, said rights. 

       16.     As the direct and proximate result of the aforesaid unlawful and improper 

conduct on the part of the Defendants Fitzgerald and Hill, Plaintiff Higgins was caused to suffer 

severe and disabling injuries to the bones, muscles, blood vessels, tissues, nerves and nervous 

system of his body, including but not limited to, multiple contusions and bruises of the body, 

head and face, permanent loss of vision and post traumatic stress disorder, the full extent of 

which injuries is not yet known, and some or all are or may be permanent. 

       17.     As a further direct and proximate result of the intentional, reckless, malicious 

and/or wanton acts of the Defendants Fitzgerald and Hill, as described in the foregoing 

paragraphs of this Complaint, Plaintiff Higgins has suffered in the past, and will continue to 

suffer in the future, excruciating and agonizing aches, pains, mental anguish, humiliation, 

embarrassment, disfigurement, and deformity, as well as limitation and restriction of his usual 

activities, pursuits and pleasures. 

       18.     As a further direct and proximate result of the unlawful and improper conduct of 

the Defendants Fitzgerald and Hill resulting in injuries and damages to Plaintiff Higgins as 

described in the foregoing paragraphs of this Complaint, Plaintiff Higgins has been disabled in 



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the past, and will be disabled in the future, from performing his usual duties, occupations, and 

avocations with consequent loss of earnings, earning power and earning capacity. 

       19.     As a further direct and proximate result of the unlawful conduct of the 

Defendants Fitzgerald and Hill resulting in injuries and damages to Plaintiff Higgins as described 

in the foregoing paragraphs of this Complaint, Plaintiff Higgins has in the past required, and will 

in the future be required to receive, medicines, and hospital and medical care and treatment, 

and has been required to expend, and will in the future expend, monies for such care and 

treatment. 

       WHEREFORE, Plaintiff Michael Higgins moves this Honorable Court for judgment against 

the Defendants, and each of them, jointly and severally, for compensatory damages in a sum in 

excess of One Hundred Thousand Dollars ($100,000.00); and, as exemplary and punitive 

damages, a sum in excess of One Hundred Thousand Dollars ($100,000.00); and that 

Defendants be required to pay costs, interest, delay damages, and reasonable attorney’s fees 

pursuant to 42 U.S.C. §1988. 




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                                             COUNT II 

                MICHAEL HIGGINS V. DEFENDANTS FITZGERALD AND HILL 

       20.     The averments of Paragraphs 1 through 19, inclusive, of this Complaint, to the 

extent they are relevant herein, are incorporated by reference as if they were fully set forth. 

       21.     Defendants Fitzgerald and Hill falsely charged Plaintiff with the crimes of 

knowing and intentional possession of a controlled substance and resisting arrest, that they 

knew or had reason to know were baseless, false and malicious. 

       22.     Notwithstanding the foregoing, Defendants filed a Criminal Complaint based on 

a sworn affidavit and docketed at MC‐51‐CR‐0000180‐2008, intentionally and falsely accusing 

Plaintiff of engaging in criminal conduct as set forth above, 

       23.     The aforementioned criminal charges against Plaintiff were ultimately withdrawn 

by the District  Attorney of  Philadelphia County, Pennsylvania on July 9, 2008.   

       24.     The Defendants, by their unlawful conduct, individually and/or in concert, either 

negligently or intentionally, willfully and maliciously or with callous disregard of, or deliberate 

indifference to the rights, privileges and immunities secured for Plaintiff Higgins by the 

Constitution of the United States of America, and Amendments thereto, including, without 

limitation, the Fourth, Fifth and Fourteenth Amendments, and by the Constitution of the 

Commonwealth of Pennsylvania, attempted to, and did deprive him of same in violation of 42 

U.S.C. §§1983 and 1985.  

       25.     As a further direct and proximate result of the unlawful conduct of Defendants 

Fitzgerald and Hill, as described in the foregoing paragraphs of this Complaint, acting 

individually and/or in concert, Plaintiff Higgins was deprived of his liberty, and thereafter was 



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compelled to live under restraints on his freedom and with the fear of imprisonment, suffered 

substantial injury to his good name and reputation and has incurred significant expense in 

efforts to defend himself against baseless, false and malicious criminal charges and to clear his 

good name and reputation. 

       26.     As a direct and proximate result of the aforementioned acts of misconduct of 

Defendants Fitzgerald and Hill, acting individually and/or in concert as described in the 

foregoing paragraphs of this Complaint, Plaintiff  has suffered in the past and will continue to 

suffer in the future, mental anguish, humiliation and embarrassment, as well as limitation and 

restriction of his usual activities, pursuits and pleasures. 

       WHEREFORE, Plaintiff Michael Higgins moves this Honorable Court for judgment against 

the Defendants, and each of them, jointly and severally, for compensatory damages in a sum in 

excess of One Hundred Thousand Dollars ($100,000.00); and, as exemplary and punitive 

damages, a sum in excess of One Hundred Thousand Dollars ($100,000.00); and that 

Defendants be required to pay costs, interest, delay damages, and reasonable attorney’s fees 

pursuant to 42 U.S.C. §1988. 

                                             COUNT III 

                   MICHAEL HIGGINS V. DEFENDANTS RAMSEY AND CITY 

                                                
       27      The averments of Paragraphs 1 through 26, inclusive, of this Complaint, to the 

extent they are relevant herein, are incorporated by reference as if they were fully set forth. 

       28.     Defendant City, through its agents, servants and employees, and policy makers, 

including Defendant Ramsey deprived Plaintiff of his rights, privileges and immunities under the 




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Constitution of the United States and the Constitution of the Commonwealth of Pennsylvania in 

violation of 42 U.S.C. §§1983 and 1985. 

        29.     Defendant City failed to exercise due care in the selection, appointment, 

training, retraining, supervision, discipline and control of the Defendant police officers.  

        WHEREFORE, Plaintiff moves this Honorable Court for judgment against the Defendants 

Sylvester Johnson and City of Philadelphia, and each of them, jointly and severally, for 

compensatory damages in a sum in excess of One Hundred Thousand Dollars ($100,000.00); 

and, as exemplary and punitive damages, a sum in excess of One Hundred Thousand Dollars 

($100,000.00); and that Defendants be required to pay costs, interest, delay damages, and 

reasonable attorney’s fees pursuant to 42 U.S.C. §1988. 

                                            COUNT IV  

                MICHAEL HIGGINS V. DEFENDANTS FITZGERALD AND HILL 
                                                 
        30.     The averments of Paragraphs 1 through 26, inclusive, of this Complaint, to the 

extent they are relevant herein, are incorporated by reference as if they were fully set forth. 

        31.     The aforesaid unlawful touching of Plaintiff by Defendants Fitzgerald and Hill 

acting within the course of their employment and the scope of their authority, was without 

Plaintiff s consent or justification. 

        WHEREFORE, Plaintiff moves this Honorable Court for judgment against the Defendants, 

and each of them, jointly and severally, for compensatory damages in a sum in excess of One 

Hundred Thousand Dollars ($100,000.00); and, as exemplary and punitive damages, a sum in 

excess of One Hundred Thousand Dollars ($100,000.00); and that Defendants be required to 

pay costs, interest, delay damages, and reasonable attorney’s fees pursuant to 42 U.S.C. §1988. 



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                                            COUNT V 

      MICHAEL HIGGINS V. DEFENDANTS FITZGERALD, HILL, CITY AND JOHNSON 
                                             
       32.  The averments of Paragraphs 1 through 26, inclusive, of this Complaint, to the 

extent they are relevant herein, are incorporated by reference as if they were fully set forth. 

       33.     The aforesaid acts constituted an unlawful restraint on the liberty of the person 

of the Plaintiff without proper legal process, and without authority. 

       WHEREFORE, Plaintiff moves this Honorable Court for judgment against the Defendants, 

and each of them, jointly and severally, for compensatory damages in a sum in excess of One 

Hundred Thousand Dollars ($100,000.00); and, as exemplary and punitive damages, a sum in 

excess of One Hundred Thousand Dollars ($100,000.00); and that Defendants be required to 

pay costs, interest, delay damages, and reasonable attorney’s fees pursuant to 42 U.S.C. §1988. 

                                           COUNT VI 

      MICHAEL HIGGINS V. DEFENDANTS FITZGERALD, HILL, CITY AND JOHNSON 
                                             
       34.  The averments of Paragraphs 1 through 26, inclusive, of this Complaint, to the 

extent they are relevant herein, are incorporated by reference as if they were fully set forth. 

       35.     The aforesaid acts of the Defendants Fitzgerald and Hill constituted an improper 

use of process after it had been issued, employed for an unlawful purpose, to wit, the wrongful 

arrest and detention of Plaintiff. 

       WHEREFORE, Plaintiff moves this Honorable Court for judgment against the Defendants, 

and each of them, jointly and severally, for compensatory damages in a sum in excess of One 

Hundred Thousand Dollars ($100,000.00); and, as exemplary and punitive damages, in excess of 




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One Hundred Thousand Dollars ($100,000.00); and that Defendants be required to pay costs, 

interest, delay damages, and reasonable attorney’s fees pursuant to 42 U.S.C. §1988. 

                                           COUNT VII  

                        MICHAEL HIGGINS V. ALL DEFENDANTS 
                                                
       36.     The averments of Paragraphs 1 through 26, inclusive, of this Complaint, to the 

extent they are relevant herein, are incorporated by reference as if they were fully set forth. 

       37.     The aforesaid acts on the part of the Defendants, and each of them, were 

performed maliciously and without reasonable or probable cause and the criminal prosecution 

of Plaintiff, which was subsequently withdrawn, was malicious and without justification. 

       WHEREFORE, Plaintiff moves this Honorable Court for judgment against the Defendants, 

and each of them, jointly and severally, for compensatory damages in a sum in excess of One 

Hundred Thousand Dollars ($100,000.00); and, as exemplary and punitive damages, a sum in 

excess of One Hundred Thousand Dollars ($100,000.00); and that Defendants be required to 

pay costs, interest, delay damages, and reasonable attorney’s fees pursuant to 42 U.S.C. §1988. 

                                           COUNT VIII 

                        MICHAEL HIGGINS V. ALL DEFENDANTS 
                                                
       38.     The averments of Paragraphs 1 through 26, inclusive, of this Complaint, to the 

extent they are relevant herein, are incorporated by reference as if they were fully set forth. 

       39.     The aforesaid conduct of the Defendants was performed intentionally, recklessly 

and/or wantonly so as to cause severe and continuing emotional distress to the Plaintiff. 

       WHEREFORE, Plaintiff moves this Honorable Court for judgment against the Defendants, 

and each of them, jointly and severally, for compensatory damages in a sum in excess of One 



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Hundred Thousand Dollars ($100,000.00); and, as exemplary and punitive damages, a sum in 

excess of One Hundred Thousand Dollars ($100,000.00); and that Defendants be required to 

pay costs, interest, delay damages, and reasonable attorney’s fees pursuant to 42 U.S.C. §1988. 

                                            COUNT IX 

                        MICHAEL HIGGINS V. ALL DEFENDANTS 
                                                
       40.     The averments of Paragraphs 1 through 26, inclusive, of this Complaint, to the 

extent they are relevant herein, are incorporated by reference as if they were fully set forth. 

       41.     The aforesaid acts of the individual Defendants constituted a conspiracy to 

defame Plaintiff and were performed with the intention of damaging him and his reputation 

without reasonable grounds. 

       42.     The individual acts of Defendants that were intended to defame Plaintiff and 

injure his reputation and such intent continued through the trial of this matter in the case of 

Commonwealth v. Michael Higgins, MC‐51‐CR‐0000180‐2008. 

       43.     Plaintiff  pleads, in the alternative, that the Defendant police officers acted 

negligently, recklessly and/or wantonly in the detention, custody and prosecution of Plaintiff so 

as to cause him to suffer the aforesaid injuries and damages. 

       WHEREFORE, Plaintiff moves this Honorable Court for judgment against the Defendants, 

and each of them, jointly and severally, for compensatory damages in a sum in excess of One 

Hundred Thousand Dollars ($100,000.00); and, as exemplary and punitive damages, a sum in 

excess of One Hundred Thousand Dollars ($100,000.00); and that Defendants be required to 

pay costs, interest, delay damages, and reasonable attorney’s fees pursuant to 42 U.S.C. §1988. 

                                            COUNT X 



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                        MICHAEL HIGGINS V. ALL DEFENDANTS 
                                                
       44.     The averments of Paragraphs 1 through 26, inclusive, of this Complaint, to the 

extent they are relevant herein, are incorporated by reference as if they were fully set forth. 

       45.     The aforesaid conduct of the Defendants was performed negligently so as to 

result in the negligent infliction of emotional distress. 

       WHEREFORE, Plaintiff moves this Honorable Court for judgment against the Defendants, 

and each of them, jointly and severally, for compensatory damages in a sum in excess of One 

Hundred Thousand Dollars ($100,000.00); and, as exemplary and punitive damages, a sum in 

excess of One Hundred Thousand Dollars ($100,000.00); and that Defendants be required to 

pay costs, interest, delay damages, and reasonable attorney’s fees pursuant to 42 U.S.C. §1988. 

                                             COUNT XI 

                        MICHAEL HIGGINS V. ALL DEFENDANTS 
                                   PUNITIVE DAMAGES 
                                                
       46.     The averments of Paragraphs 1 through 26, inclusive, of this Complaint, to the 

extent they are relevant herein, are incorporated by reference as if they were fully set forth. 

       47.     The  Defendants’  willful,  intentional  or  reckless  or  callous  disregard  of,  or 

indifference to, the rights of Plaintiff as set forth in the preceding paragraphs of this Complaint, 

was  conduct  so  outrageous,  malicious,  willful  and/or  reckless  as  to  warrant  assessment  of 

punitive damages in such an amount as would act as a deterrent to Defendants and others from 

the future commission of like offenses and wrongs. 

       WHEREFORE, Plaintiff demands judgment against Defendants, and each of them, both 

jointly and severally, for exemplary or punitive damages in a sum in excess of One Hundred 

Thousand Dollars ($100,000.00), plus interest and costs of suit and other damages deemed 


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recoverable by this Court. 

 

                                     SHINGLES & SHINGLES, LLP 
 
 
Dated:  November 10, 2008            By_/s/ Evan Shingles______ 
                                     EVAN SHINGLES 
                                     Attorney for Plaintiff 




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